






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00806-CV






John L. Wiley and Randi Wiley, Appellants


v.


William H. Carmean and Linda D. Carmean; Thomas R. Page; Edward J. Mitschke, Jr.;
Texas Country Title Co.; and Chicago Title Insurance Company, Appellees






FROM THE DISTRICT COURT OF LEE COUNTY, 335TH JUDICIAL DISTRICT

NO. 13,761, HONORABLE REVA TOWSLEE CORBETT, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		On July 12, 2011, we abated this appeal to give appellants John L. Wiley and
Randi&nbsp;Wiley 60 days to take action to cure a jurisdictional defect.  On August 10, 2011, appellants
filed an unopposed motion to dismiss appeal.  Appellants certify that the parties have reached an
agreement to settle all pending claims and that appellants have agreed to dismiss this appeal as part
of the agreement.  Accordingly, we reinstate the appeal, grant appellants' motion, and dismiss the
appeal.  See Tex. R. App. P. 42.1(a)(1). (1) 



						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Rose and Goodwin

Dismissed on Appellants' Motion

Filed:   August 17, 2011




						
1.   Chicago Title Insurance Company previously filed a motion to dismiss for lack of
jurisdiction, which we dismiss as moot.


